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JS 44C/SDNY
REV.
10/01/2020

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS
ELIJAH EWELL

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
JAMES I. MEYERSON, 510 FIFTH AVENUE-# 335, NEW YORK CITY,

NEW YORK 10036 (917)

570-5369

DEFENDANTS

CITYOF NEW YORK, DANIEL RAMOS, SHIELD # 17933, JOHN DOE # 1,

JOHN DOE # 2, CESAR IMBERT
ATTORNEYS (IF KNOWN)

OFFICE OF THE NEW YORK CITY CORPORATION COUNSEL, 100

CHURCH STREET, NEW YORK, NEW YORK 10007

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

42 U.S.C. SECTION 1983 UNCONSTITUTIONAL STOP, DETENTION, ARREST; SEARCH, EXCSSIVE FORCE; OTHER

Judge Previously Assigned

Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? NoYes]

If yes, was this case Vol.[_] Invol. [[] Dismissed. No[-] Yes [[]_ Ifyes, give date

No [x]

IS THIS AN INTERNATIONAL ARBITRATION CASE?

(PLACE AN [x] IN ONE BOX ONLY)

CONTRACT

INSURANCE
MARINE

MILLER ACT
NEGOTIABLE
INSTRUMENT
RECOVERY OF
OVERPAYMENT &
ENFORCEMENT
OF JUDGMENT
MEDICARE ACT
RECOVERY OF
DEFAULTED
STUDENT LOANS
(EXCL VETERANS)
RECOVERY OF
OVERPAYMENT
OF VETERAN'S
BENEFITS
STOCKHOLDERS
SUITS

OTHER
CONTRACT
CONTRACT
PRODUCT
LIABILITY

[ ]196 FRANCHISE

[ ] 160
[ ] 190

[ ] 195

REAL PROPERTY

[ ] 240 LAND
GONDEMNATION

[ ] 220 FORECLOSURE

[ } 230 RENT LEASE &
EJECTMENT

[ ]240 TORTS TO LAND

[ ]245 TORT PRODUCT
LIABILITY

[ ] 290 ALL OTHER
REAL PROPERTY

Check if demanded

 

 

 

UNDER F.R.C.P. 23

 

DEMAND $

TORTS

PERSONAL INJURY

[ ]310 AIRPLANE

{ 1315 AIRPLANE PRODUCT
LIABILITY

[ ]320 ASSAULT, LIBEL &
SLANDER

[ 1330 FEDERAL
EMPLOYERS’
LIABILITY

{ 1340 MARINE

| 1345 MARINE PRODUCT
LIABILITY

[ ]360 MOTOR VEHICLE

[ 1355 MOTOR VEHICLE
PRODUCT LIABILITY

{ ]360 OTHER PERSONAL
INJURY

{ ]362 PERSONAL INJURY -
MED MALPRACTICE

ACTIONS UNDER STATUTES
CIVIL RIGHTS

x] 440 OTHER CIVIL RIGHTS
(Non-Prisoner)

[ 1441 VOTING

[ ]442 EMPLOYMENT

| ]443 HOUSING/
ACCOMMODATIONS

{ ]445 AMERICANS WITH
DISABILITIES -
EMPLOYMENT

[ ]446 AMERICANS WITH
DISABILITIES -OTHER

{ 1448 EDUCATION

in complaint:

CHECK IF THIS IS ACLASS ACTION

OTHER

Check YES only if demanded in complaint

JURY DEMAND: Xl] YE

s CNo

& Case No.

Yes CI
NATURE OF SUIT

ACTIONS UNDER STATUTES

PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY
[ 1367 HEALTHCARE/
WUEUBEORUEy | cee [ ]625 DRUG RELATED | 1422 APPEAL
INJURYIPRODUCT LIABILITY se:i7 RE OF PROPERTY 28 USC 158
[ ]365 PERSONAL INJURY 24 USC Bat | ] 423 WITHDRAWAL
PRODUCT LIABILITY 1 1 609 OTHER 28 USC 157
| ]368 ASBESTOS PERSONAL
INJURY PRODUCT
LIABILITY PROPERTY RIGHTS

PERSONAL PROPERTY [ ] 820 COPYRIGHTS

[ ] 830 PATENT
[| ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
[| ] 840 TRADEMARK

[ ] 880 DEFEND TRADE SECRETS ACT

[ ]370 OTHER FRAUD
{ ] 371 TRUTH IN LENDING
SOCIAL SECURITY

[ ]380 OTHER PERSONAL
PROPERTY DAMAGE
[| ]385 PROPERTY DAMAGE

LABOR 861 HIA (1395ff)

862 BLACK LUNG (923)

{ ] 710 FAIR LABOR 863 DIWC/DIWW (405(g))

{]
[]
(]
(]
C]

PRODUCT LIABILITY STANDARDS ACT 864 SSID TITLE XVI
[ ] 720 LABOR/MGMT 865 RSI (405(g))
PRISONER PETITIONS RELATIONS
[ ] 463 ALIEN DETAINEE [ ] 740 RAILWAY LABOR ACT

] 510 MOTIONS TO
VACATE SENTENCE
28 USC 2255

(] 751 FAMILY MEDICAL FEDERAL TAX SUITS

LEAVE ACT (FMLA
(FMLA) [ ] 870 TAXES (U.S. Plaintiff or

[ ] 530 HABEAS CORPUS [ ] 790 OTHER LABOR Defendant)
{ }535 DEATH PENALTY LITIGATION { ] 871 IRS-THIRD PARTY
[ ] 540 MANDAMUS & OTHER = [ ] 781 EMPL RET ING 26 USC 7609

SECURITY ACT (ERISA)

IMMIGRATION
PRISONER CIVIL RIGHTS
{ ]462 NATURALIZATION

{ ] 850 CIVIL RIGHTS APPLICATION
[ 1555 PRISON CONDITION —_{_ ] 465 OTHER IMMIGRATION
[ 1560 CIVIL DETAINEE ACTIONS

CONDITIONS OF CONFINEMENT

OTHER STATUTES
[ ]375 FALSE CLAIMS
[ ] 376 QUI TAM

[ ]400 STATE
REAPPORTIONMENT

410 ANTITRUST

430 BANKS & BANKING

450 COMMERCE

460 DEPORTATION

470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[| ]480 CONSUMER CREDIT

{ ) 485 TELEPHONE CONSUMER
PROTECTION ACT

[]
[]
[]
[]
[]

490 CABLE/SATELLITE TV
850 SECURITIES/
COMMODITIES!
EXCHANGE
[ ]890 OTHER STATUTORY
ACTIONS
[ ]891 AGRICULTURAL ACTS
{ } 893 ENVIRONMENTAL
MATTERS
[| ]895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
| ] 899 ADMINISTRATIVE
PROCEDURE ACT/REVIEW OF
APPEAL OF AGENCY DECISIO

U]
]

[ | 950 CONSTITUTIONALITY O
STATE STATUTES

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
IF SO, STATE:

JUDGE

 

DOCKET NUMBER

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32°
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
[xX] 1 Original C] 2 Removed from [13 Remanded C] 4 Reinstated or C] 5 Transferred from [16 Fileelion oO7 ee
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
LC] a. all parties represented Court

| b, Atleast one party

Cc] 8 Multidistrict Litigation (Direct File)

is pro se,
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[]1 U.S. PLAINTIFF [[]2 U.S. DEFENDANT 3 FEDERAL QUESTION (14 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE [11 [71 CITIZEN OR SUBJECT OF A [1313 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPALPLACE [ ]4[ ]4 FOREIGN NATION [16 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
ELIJAH EWELL
1755 BRUCKNER BOULEVARD-#1H, BRONX, NEW YORK 10472

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
CITY OF NEW YORK-100 CHURCH STREET, NEW YORK CITY, NEW YORK

DANIEL RAMOS, JOHN DOE # 1, JOHN DOE # 2, CESAR IMBERT
NYPD 43RD PRECINCT-900 FTELEY AVENUE, BRONX, NEW YORK 10473

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: _] WHITE PLAINS [x] MANHATTAN

DATE 12/02/2021 ADMITTED TO PRACTICE IN THIS DISTRICT
SIGNATURE OF ATTORNEY OF BE GERD [] NO
[x] YES (DATE ADMITTED Mo, 11 Yr. 1973)

RECEIPT James |. Meyerson Allorney Bar Code # 1584705
Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge is so Designated.
Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)

Clear Form Save Print
